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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS


 R.B.                                                  Case No. 4:19-cv-03004

 Plaintiff,                                            Judge David Hittner

 v.                                                     DISMISSAL

 JENNIFER M. SMITH, ET AL.

 Defendants



         Pursuant to Fed. R. Civ. P. 41(A)(1)(a), Plaintiff R.B. respectfully provides notice that the

Plaintiff is voluntarily dismissing all claims against Defendant. This voluntary dismissal is WITHOUT

PREJUDICE.




                                                       Respectfully submitted,

                                                         /s/ Joshua A. Engel
                                                       James Holtz (09931450, Fed Bar No. 1452)
                                                       Will Holtz (24092533, Fed Bar No. 308796)
                                                       THE HOLTZ LAW FIRM, P.C.
                                                       2121 Sage Road, Suite 250
                                                       Houston, Texas 77056
                                                       713-467-1396
                                                       jholtz@holtzlegal.com
                                                       wholtz@holtzlegal.com

                                                       Joshua Adam Engel (0075769)
                                                       Anne Tamashasky (0064393)
                                                       Pro hac vice
                                                       ENGEL AND MARTIN, LLC
                                                       4660 Duke Dr., Ste 101
                                                       Mason, OH 45040
                                                       (513) 445-9600
                                                       (513) 492-8989 (Fax)
                                                       engel@engelandmartin.com
                                                       tamashasky@engelandmartin.com

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                                 CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing has been electronically served via the ECF system this
JANUARY 23, 2020 upon all counsel of record.


       /s/ Joshua Engel




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